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UNITED STATES DlSTRlCT COURT
MIDI)LE DISTRICT OF FLORIDA
()RLAND() DIVISION

BRANCH BANKING AND TRUST
COMPANY,

Plaintiff,
vs.

MELVIN L. STEVENS, JR., SECURITY
FlNANCIAL ENTERPRISES, INC.7
BROWNS GYMNASTICS OF WINTER
PARK, INC., d/b/a RJC PROPERTIES,
SILVER LAKES WEST HOMEOWNERS
;§SN(?rCéi§§zog’OHl\:§qb§?ll§YWEva CaS€ NO. 6:16-01447-CEM-KRS
ASSOCIATION, INC., THE CROSSINGS
MASTER COMMUNITY ASSOCIATION,
INC., CALVIN JACK MEEKS, ROSE M.
ELLIS, ELAVON, INC. f/k/a NOVA
INFORMATION SYSTEMS, REGIONS
BANK, CAPITAL ONE BANK (USA) NA,
KAREN COUPER, MARK COOPER,
DILLON TYLER, BRENDA
CICCARELLO, and SALVA'I`ORE
CICCARELLO,

Defendants.

AMENDED VERIFIED COMPLAINT

'I`he plaintiff, BRANCH BANKING AND TRUST COMPANY (“BB&T”), by and
through its undersigned counsel, Sues the defendants, MELVIN L. STEVENS, JR.
(“Borrower”), SECURITY FINANCIAL ENTERPRISES, INC. (“Security Financial”),
BROWNS GYMNASTICS OF WINTER PARK, INC. d/b/a RJC PROPERTIES
(“Browns”), SILVER LAKES WEST H()MEOWNERS ASSOCIATION, INC. (“Silver
Lakes”), THE WEKIVA HUNT CLUB C()MMUNITY ASSOCATION, INC. (“Wekiva”),

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THE CROSSINGS MASTER COMMUNITY ASSOCIATI()N, INC. (“Crossings”),

CALVIN JACK MEEKS (“Meeks”), ROSE l\/I. ELLIS (“Ellis”), ELAVON, INC. f/k/a

NOVA INFORMATI()N SYSTEMS (“Elavon”), REGIONS BANK (“Regions”),

CAPITAL ONE BANK (USA) NA, KAREN COOPER, l\/IARK C()()PER, DILLON

TYLER, BRENi)A CICCARELLO, and SALVATORE CICCARELLU, and alleges:
JURISDICTION, VENUE, AND PARTIES

l. This is an action for damages exceeding 375,00().00, exclusive of costs, interest,
and attomey’s fees and for the foreclosure of a mortgage on real property located in Seminole
County, Florida.

2. BB&T is a North Carolina state chartered bank authorized to conduct business in
the State of Florida, With its principal business office in Winston-Salem, North Carolina. BB&T
is a citizen of and is domiciled in North Carolina.

3. Stevens is a resident of and domiciled in Seminole County, Florida.

4. Sccurity Financial is an administratively dissolved Florida corporation Which had
its principal business office in Altamonte Springs, Florida. Security Financial is a citizen of and
is domiciled in Florida.

5. Brovvns is a Florida corporation With its principal office in Winter Park, Florida.
Browns is a citizen of and is domiciled in Florida.

6, Silver Lakes is a Florida corporation with its principal office in Longwood,
Florida. Silver lakes is a citizen of and is domiciled in Florida.

7. Wekiva is a Florida corporation With its principal office in Longwood, Florida.

Wel<iva is a citizen ot`and is domiciled in Florida.

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8. Crossings is a Florida corporation With its principal office in Longwood, Florida.

Crossings is a citizen of and is domiciled in Florida.

9. Mceks is a resident of and domiciled in Lal<e County, Florida.
10. Ellis is a resident of and domiciled in Seminole County, Florida.
ll. Regions is an Alabama state chartered bank With its principal office in

Binningham, Alabama. Regions is a citizen of and is domiciled in Alabama. This court has
personal jurisdiction over Regions because it claims an interest in the subject real estate by virtue
of a judgment lien it recorded in Seminole County, Florida.

12. Capital One is a national banking association With its main corporate office
located in l\/lcClean Virginia. Capital One is a citizen of and is domiciled in Vir'giiiia. This
court has personal jurisdiction over Capital One because it claims an interest in the subject real
estate by virtue of a judgment lien it recorded in Seminole County, Florida.

13. Karen Cooper and l\/Iark Cooper reside at the real property subject to this
foreclosure claim located at l29 Habersham Drive, Longwood, Florida. Karen Cooper and
l\/lark Cooper are residents of and domiciled in Serninole County, Florida.

l4. Dillon Tyler resides at the real property subject to this foreclosure claim located at
323 E. Notre Daine I)rive, Altamonte Springs, Florida. Dillon Tyler is a resident of and
domiciled in Seminole County, Florida.

15. Brenda Ciccarello and Salvatore Ciccarello reside at the real property subject to
this foreclosure claim located at 724 Silversmith Circle, Lake l\/Iary, Florida. Brenda Ciccarello
and Salvatore Ciccarello are residents of and domiciled in Florida.

l6. This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1332 because: (a) the amount in controversy exceeds $75,000.()(), exclusive of interest, costs, and

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attorneys’ fees, and (b) there is complete diversity of citizenship between BB&T and the

defendants
l7. Venue is proper in this district pursuant to 28 U.S.C. § 1391 because the real
property subject to the foreclosure claim is situated in this district.
GENERAL ALLEGATIONS
18. On or about October 19, 1999, Stevens and Security Financial executed and
delivered to Colonial Bank a Commercial Promissory Note and Security Agreement in the
principal amount of $225,000 (the “1999 Note”). A true and authentic copy of the 1999 Note is

attached as Exhil)it A.

19. On or about June 12, 2001, Stevens and Security Financial executed and delivered
to Colonial Banl< a renewal promissory note which renewed the 1999 Note and increased the
principal amount to $625,000 (tlie “2001 Note”). A true and authentic copy of the 2001 Note is
attached as Exhibit B.

20. At the time of the execution of the 2001 Note, Stevens owned the following
described properties located in Seminole County, Florida (the “Properties”):

PARCEL l: LOT 44, SlLVER LAKES WEST AT Tl'lE
CROSSINGS, UNlT ONE, ACCORDING TO Tl-lE PLAT
THEREOF, AS RECORDED IN PLAT BOOK 34, PAGES 57
AND 58, PUBLlC RECORDS OF SEMINOLE COUNTY,
FLORIDA;

PARCEL 2: LOT 15, BLOCK 3, WEATi-IERSFIELD FIRST
ADDITION, ACCOR_DING TO THE PLAT 'fl"lEREOF, AS
RECORDED IN PLAT BOOK 12, PAGES 66 AND 67, PUBLIC
RECORDS OF SEl\/IINOLE COUN'I"Y, FLORIDA;

and

PARCEL 3: LOT 15, WEKIVA HILLS, SECTION SlX,
ACCORDTNG T() THE PLAT THEREOF, AS RECORDED lN

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PLAT BOOK 21, PAGES 24 AND 25, PUBLIC RECORDS OF
SEMINOLE COUNTY, FLORIDA.

21. On or about June 12, 2001, as security for the 2001 Note, Stevens executed a
l\/loitgage on the l’roperties in favor of Colonial Banl<. The l\/lortgage was recorded at Offrcial
Records Book 4146, Page 354, of the Offrcial Records of Seminole County, Flor‘ida. A true and
authentic copy of the l\/[ortgage is attached as Exhibit C.

22. On or about .lune 14, 2002, Stevens and Security Financial executed another
renewal note payable to Colonial Bank which increased the principal amount to $650,000.00 (the
“2002 Note”). A true and authentic copy of the 2002 Note is attached as Exhibit I).

23. On or about l\/larch 6, 2007, Stevens and Security Financial executed a Renewal
Revolving Line of Credit Promissory Note payable to Colonial Banl<, N.A. f/k/a Colonial Bank
which renewed the 2002 Note and increased the principal amount to $1,000,000.00 (the “Note”).
A true and authentic copy of the Note is attached as Exhibit E.

24. ()n or about l\/larch 6, 2007, Stevens executed a Notice of Future Advance
l\/lortgage and Note l\/iodification, and Renewal Agreement, increasing the maximum amount of
the lien of the l\/iortgage to $1,000,000.00 in accordance with the Note (the “Moitgage
Modification”). Tlie l\/lortgage l\/lodification was recorded at Official Records Book 6640, Page
1455, of the Official Records of Seminole County, Florida. A true and authentic copy of the
l\/lortgage l\/lodification is attached hereto as Exhibit F. The Mortgage as modified by the
l\/lortgage l\/lodification is referred to as the “l\/lortgage.”

25. Effective June 10, 2008, Colonial Bank, N.A., converted its corporate structure to
an Alabama charted bank under the name Colonial Bank. A tiue and authentic copy of

Certifrcate of Approval to Convert to a State Banl<ing Coiporation is attached as Exhibit G.

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26. On August 14, 2009, the Federal Deposit lnsurance Corporation (the “FDIC”)
was appointed by the Alabama Superintendent of Banks for the State of Alaba;ma as receiver to
liquidate and distribute the assets of Colonial Bank, and, on this date, BB&T and the FDIC
entered into a Purchase and Assumption Agreement whereby BB&T purchased and acquired
from the FDIC Colonial Bank’s loans, including the loan represented by the Note and l\/lortgage.
The Purchase and Assumption Agreement is a voluminous document that will be produced upon
request and which is available on line at https://www.fdic.gov/bank/individual/failed/colonial~
al P and A.pdf.

27. To further evidence BB&T’s purchase of Colonial Banl<’s loans, the FDlC
executed an Assignment of Security instruments and Other Loan l)ocuments (the “Assignment”)
which Was recorded in Seminole County, Florida. A true and authentic copy of the Assignment
is attached as Exhibit H.

28. BB&T is the owner of the Note and l\/lortgage pursuant to the asset acquisition
from the FDIC and is the party entitled to enforce the Note and l\/lortgage.

29. Pursuant to deeds recorded on November 30, 2015, Stevens has transferred title to
the Properties to 3 l\/Il\/ll\/l l~loldings. The Properties are currently owned by Browns.

COUNT I: LOST N()TE

30. BB&T realleges paragraphs 18 through 29 of the General Allegations.

31. Stevens and Security Financial defaulted under the Note by failing to make the
required monthly interest payments from June, 2009, through July, 2016.

32. By letter dated April 25, 2016 (the “Cure Letter”)7 BB&T demanded that Stevens

cure the payment default on or before l\/lay 31, 2016. A true and authentic copy of the Cure

Letter is attached as Exhibit I.

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33. Stevens did not cure the payment default on or before l\/lay 31, 2016, or at any
time.

34. As a result of Stevens’ failure to cure the payment default7 by letter dated June 3,
2016 (the “Acceleration Letter”), BB&T advised Stevens and Security Financial that it had
accelerated payment of the indebtedness owing under the Note and demanded full payment of
the loan balance owing by July 12, 2016. A true and authentic copy of the Acceleration Letter is
attached as Exhibit J.

35. Add`itionally, the Note is payable on demand Pursuant to the Acceleration Letter,
BB&T informed Stevens that the Note was payable on demand and demanded payment of the
loan balance by July 12, 2016.

36. Finally, BB&T advised Stevens that lie had breached paragraph 17 of the
l\/lortgage by transferring the Properties to 3 l\/ll\/ll\/l Holdings, and as a result of this breach,
BB&T demanded payment of the loan balance by July 12, 2016.

37. As a result of the demand and defaults of the Note and l\/lortgage, BB&'l` is
entitled to recover the full loan balance from Stevens and Security First.

38. As of June 3, 2016, Stevens and Security First owed B&T the principal of
$999,965.75, interest of $321,841.23, real estate taxes advanced of $19,186.37, forced place
insurance 0f$21,41 1.41, for a total of $1,362,404.76, plus interest accruing at the contract rate of
$122.95 per day.

39. The original Note was lost either by Colonial Bank prior to the acquisition of the

Note by BB&T from the FDIC or was lost by BB&T subsequent to the acquisition

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40. lf the original Note was lost by Colonial Bank prior to the acquisition of the Note
by BB&T, then BB&T acquired Colonial Bank’s right to enforce the Lost Note pursuant to the
asset acquisition from the FDiC.

41. Either Colonial Banl< or BB&T was in possession of the original Note and was
entitled to enforce the Note when the loss of possession occurred.

42. The loss of possession of the original Note was not the result of a transfer by
Colonial Bank (other than the transfer from the FDIC to BB&T) and was not the result of a
transfer by BBB&T.

43. The loss of possession of the original Note was not the result of a lawful seizure.

44. BB&T cannot reasonably obtain possession of the original of the Note because its
whereabouts cannot be determined The Note is not in the custody or control of BB&T.

45. BB&T agrees to the entry of a final judgment requiring it to indemnify and hold
harmless the obligors of the Note by reason of a claim by another person/entity attempting to
enforce the lost Note.

46. ln a prior lawsuit between BB&T and Stevens and First Security, the Circuit
Court of Jackson County, Florida, entered an Order concluding that BB&T was the owner of the
Note and l\/Ioitgage and was entitled to enforce the Lost Note.

47. Pursuant to the terms of the Note, BB&T is entitled to recover its attorney’s fees
incurred in this lawsuit.

48. BB&T has retained The Rosenthal Law Firm, P.A., to represent it in this action
and is obligated to pay a reasonable fee for services rendered on its behalf

49. All conditions precedent to BB&T’s right to bring this claim have occurred or

have been performed

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WHEREFORE, BB&T demands a judgment against Stevens and First Security, jointly

and severally, for damages, costs, interest, and attorney’s fees.
COUNT II: FORECLOSURE

50. BB&T realleges paragraphs 18 through 29 of the General Allegations and
paragraphs 31 through 46 of Count 1.

51. As a result of the defaults of the Note and l\/lor'tgage, BB&T is entitled to
foreclose the l\/lortgage.

52. Browns claims or may claim an interest in the Properties pursuant to a deed
recorded at OR Book 8604, Page 34, Public Records of Seminole County, Floi'ida.

53. Browns’ interest in the Property, if any, is subordinate to BB&T’s interest
pursuant to the l\/lortgage.

54. Silver Lakes claims or may claim an interest in the Properties pursuant to
potential, unrecorded liens.

55. The interest of Silver Lakes, if any, in the Properties is subordinate to BB&T’s
interest pursuant to the l\/loitgage.

56. Wekiva claims or may claim an interest in the Properties pursuant to potential,
unrecorded liens.

57. The interest of Wekiva, if any, in the Properties is subordinate to BB&T’s interest
pursuant to the l\/lortgage.

58. The Crossings claims or may claim an interest in the Properties pursuant to

potential, unrecorded liens.

59. The interest of the Crossings, if any, in the Properties is subordinate to BB&T’s

interest pursuant to the l\/lortgage.

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60. l\/leeks claims or may claim an interest in the Properties pursuant to a judgment
recorded at OR Book 7156, Page 329, Public Records of Seminole County, Florida, or under
some other claim or right.

61. The interest of l\/leel<s, if any, in the Propeities is subordinate to BB&T’s interest
pursuant to the l\/lortgage.

62. Ellis claims or may claim an interest in the Properties pursuant to a judgment
recorded at OR Book 7321, Page 887, Public Records of Seminole County, Florida, or under
some other claim or right.

63. '1`he interest of Ellis, if any, in the Properties is subordinate to BB&T’s interest
pursuant to the l\/lortgage.

64. Elavon claims or may claim an interest in the Properties pursuant to a judgment
recorded at OR Book 7542, Page 1220 and Book 7631, Page 1047, Public Records of Seminole
County, Florida, or under some other claim or ri ght.

65. '1`he interest of Elavon, if any, in the Properties is subordinate to BB&T’s interest
pursuant to the l\/loitgage.

66. Regions claims or may claim an interest in the Properties pursuant to a judgment
recorded at OR Book 8224, Page 664, Public Records of Seminole County, Florida, or under

some other claim or right.

67. The interest of Regions, if any, in the Properties is subordinate to BB&T’s interest

pursuant to the Mortgage.

68. Capital One claims or may claim an interest in the Properties pursuant to a
judgment recorded at OR Book 7239, Page 612 and Book 7300, Page 1439, Public Records of

Seminole County, Florida, or under some other claim or right.

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69. The interest of Capital One, if any, in the Properties is subordinate to BB&'I"s
interest pursuant to the l\/lortgage.

70. Karen Cooper and l\/lark Cooper claim an interest in the Properties because they
reside at 129 l~labersham Drive, Longwood, Florida, pursuant to an unrecorded lease agreement

71. '1`he interests of Karen Cooper and l\/lark Cooper in the Properties, if any, is
subordinate to BB&'l"s interest pursuant to the l\/lortgage.

72. l\/lark Cooper claims an interest in the Properties because they reside at 323 E.
Notre Dame Drive, Altamonte Springs, Florida, pursuant to an unrecorded lease agreement

73. The interests of l\/[ark Cooper in the Properties, if any, is subordinate to BB&T’s
interest pursuant to the l\/lortgage.

74. Brenda Ciccarello and Salvatore Ciccarello claim an interest in the Properties
because reside at 724 Silversmith Circle, Lake l\/lary, Florida.

75. The interests of Brcnda Ciccarello and Salvatore Ciccarello in the Properties, if
any, is subordinate to BB&T’s interest pursuant to the l\/lortgage.

76. Pursuant to the terms of the l\/lortgage, BB&T is entitled to recover from Stevens
its attorneys’ fees incurred in this action.

77. BB&T has retained The Rosenthal Law Firm, P.A., to represent it in this action
and is obligated to pay a reasonable fee for services rendered on its behalf.

78. All conditions precedent to BB&T’s right to bring this claim have occurred or
have been performed

WHEREFORE, BB&T prays for a judgment of foreclosure with the determination that

the l\/lortgage constitutes a first lien on the Properties and ordering a sale of the Propei'ties, and

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for an award of costs, attorneys’ fees, and any such other and further relief that the Court deems

appropriate, including a deficiency judgment and writs of possession

/s/ Jason A. Rosenthal

Jason A. Rosenthal, Trial Counsel
Florida Bar No. 0009482

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Fax 407.488.1228

Attorneys for BB&T

VERIFICATION

Under penalties of perjury, f declare that 1 have read the foregoing Verified Complaint in
the matter of Bra)zch Banking and Triz.st Company v. Melvizt L Sz‘eve)'ls, Jr., ei‘. al., and the facts

alleged therein are true and correct to the best of my knowledge and belief.

 

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Tara Bro'i'r’rirski

Senior Vice President
Branch Banking and Trust Cornpany

'1`he foregoing was sworn to (or aiit'inned) and subscribed before me this l§l`:ljj"j day of
October, 2016, by Tara .Brornirsl<;i

{Notary Seal} /'A;

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that the foregoing was electronically filed on October 20, 2016

and that an electronic copy will be furnished to counsel of record.

/s/ Jason A. Rosenthal

Jason A. Rosenthal, Esq.

Florida Bar No. 0009482

The Rosenthal Law Firm, P.A.

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the debt evidenced by the -\l . and any prepayment and lam charges mrs under flra Nule.

 
     
   

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accordance with !lia requirements of applicable law. li the n uni al lbo Funds hold ny tender ar any lima is nol sufficient lo pay the Escrcw llomswlm
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shall make up tha dancinch in no mon rim twelve monthly pny@ lsndar's sole discretion
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under paragraph 2; zhird, w in!mn! du¢; inur\li, co princisz
dua; and lasl, la any lam charges live under ins Ncle.

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4. Clrargex: Liar\s. Burrowsr shall pay all taxes, assassmenls, rhargas, i”m;?
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or il nor paid 'n lhat manner. Burrowar shall pay them on rims directly la rha person n
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5. lllzml or hourly lowrancs. Borrowor shall loop llro lrrorovmnls now existing or hereafter alonle orr rha Froperly insured against loss
by llre, murder included wlzlrln rha term 'sxlsnllrlrl cuverago“ mr my other hazards, including floods or lloorlirm, lor which Lender requira: lnsuranm.
Tllls insurance shsll br malolrlrred in llra amounl: and for lhc periods lhal tender roqulrss. Tl\s insurance carrier movide the losuranc¢ shall hs chosen
by Bcrrnwor subject to lenders normal which shall nor lm unreasonably wildhsld. ll Borrovror falls lo marmon coveraqo described abave, lamar moy,
ar lenders opliun, obtain comics la prmsa Lender's rights in ma Proparly in accordance with paragraph Il.

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policies amf mmzwals. ll bender reqlllns, Bcrmwer shall promptly gm rn lender all receipts cl wald premium and renewal nollcas. ln the mm al lom,
Borrm shall give prcrrpl marin m chi insurancl carrlsr and Lemlor. l.emlar may make proof al lou ll nol made prumplly by Borrower.

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accrued by this firmer " .~ gather or nor lhzn due. Tlm EE-tlay period will begin when rha norms ls qlvso.

  
  
   
   
   
  
 

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l7. l'ranmr of the ?ropmy or o Baoeficlol lateral la Honowu. ll all or any parr cl the Prooerly or any lnlerssl la it ls sold or transferred
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Addendum

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FOR V.A_LUE R£CEWED, abc mdusignod, MELVB\I L STEVENS, TR. and SEC'URII'Y
FI`NANCIAL ENYERPR}SES, INC., aFlon`da mzpumion,juimly md scvmzf!y ("l\»fzk¢r")promis¢
\0 pay m the order ofCDLONlAL BANK* N.A.. (!)cmina£er called rim “Bsmk” nr, together with any
other holder ofrh§s motc, the ‘“Holrler”) or ord¢r, ai its pbgc nfbusin:ss al 851 Easr Stmz- Rcmd 434,
Longwood, Florida 32750, cr at such oxhcr placcasthcl§nldcr ofthls Note muydms§gmmwwriiing,
abc principal sum of DNE }\'EILHON PM NUIIOG DOLLARS (SI,OGQ,OQB.OD}, mgzd:cr widz
lmtc:rcsttbmon at mo lmth Ra‘.c, 'm lawful money oftl:n Unimi Smic:¢, which shall bc legal modes
in peg/mdu of all debts and dues, public and plivniz, alike time ofsa?d pmm Said principal and
inch to be payable us set forth below

HM§SI.M

(a) The lowest Rmz shall bn allowing mw {hm`m '*Floellng Rm*e") calculated at
an annual rate equal to the COLONIAL BANK, N.A. Basrs Rn.m oflmcrm in cBbct &'um time 10
rim saw m »dail¥~mnvinz hmisvupmzhs~pmcixz!l_h.a!w mezei imm fi.m?._¥.°.m¢
outstanding but in no event to exceed the maximum mm allowed byFlorida Law, as amcmléd,"é¢"
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BANK, NA. shall be that rate of lowest {lmt nat mcnamin the best or lowest rata charged
borrowing customers cf CO!.ONIAL BANIC, N.A} described by it as its Base Rme of In!e:csz,
whether or not such raw shall be othm'wisc published as such rm shall vm‘jjcm time ip;im_c. and 4
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3. KAXMENI§. lmcrem at the lowest R.rxte on the princ’ al bellanca oftl)o indebtedness
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on fha day of each mmsivu month mcmann until the Matm-ity Daxn al which time all
unpaid principal and interest shall be payable in full-

4- MMQEM§MII.AMM~ Mswn'i!yfm?h¢vaymm°flh=
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Rccurds Book 4367, Fazo ll l7. encumbering md conveying real estate and property therein
described and duly recorded among LH: public records ofSEMINOlE Co\mzy, I"Imida (“Mcrtgngo
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Fagc 354, encumbering and conveying real estate and property therein described and dulymcurdcd
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cr othcrwisc} to zinc payment cf this debt any S§Gh §mck cr properly in possession cf tim Hold:r
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5. Mm Tbisnotc and all sums dnc hmwda shall bear wtucsr&om fha dat¢
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a rate yof interest equal ioth highestm!:: allowed bylaw until peid.

6. MW Anythingin mls note, the Mungage oranymlzer agreements
or arrangements with the undersigned in connection with lim lam evidenced by xhis Note to the
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amounts reserved :l:mrgcd, or lal:mx by Holdu“ as compensation for fcs, sexvices, or expenses
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dary, that the venue for ida cnfomcmmt, con.~"tmc§cm or wmprciz!ion cf 1le note shall be !hc
County Com‘t, Clrcnii Cmm or chcml Court selected lay ida lilan bcrcnf and they do hereby
specifically waive the n'gh! to sue orbc sued in inc court ofmy other county lathe Staic of I~”loridn,
any comm in any other stale or conway or in any federal com or in any state or fedch adminjsn-atlw
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8. § IT,QBB§X S‘ FEH . All parties liable fur the pzymcnt ofthis Note agree w pay the
Hold=r in addition !0 ihs principal premium and informs dxxr. and payable hcrecm, reasonable
paralch i“¢as_ axiomqys' few and costa whether ar not an action bn brouglzl, for lbo services of
counsel employed chrmamrity or dcfimlt fn collect this Nma or any principal or lntemst due
hercunder, 01 to probed tim security, if any, or enforce the pcrfmrmnce of any other agreement
contained is this Note or in any ixmz‘m::m of security execuin in cunncctiun with the loan
evidenced hereby including but not limited in cos£s, paralegal fixes and annmeys' fees and costs on

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any trial, or uppellalz: proceeding or in any proceedings under the Um"tzd S‘uztcs Bml:rupisy€ndo
or in any postjudgment prnwzding&

9. § y m§§ O§ D§EAULI’. The happening ofany ofth following nevean shall constitute
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any other sums required hernandez when dun mm dlis Notc; or (b) a default or Eve:zi affidaan
shall occur in any immunch securing this Note or “m amy orber instrument ex:cm:§ in connection
mill abc loan evidencch hereby

lD_ A CCEI_.._§B¢§I}_QE. if a ciofqu or E\'em of Deflmlt shall occur hereunder and such
default shall continue ferrero (lD) days rlch at!hs npdmn thlzc golden the entire principal sum then
remaining unpaid together with any premimns and accrued interest shall immediately become due
and payable without noz§ae or demand and said principal and premiums shall bcm' mm from
ngclz date ar the highest lcgzl rare permitrazl by law, from timc to !imc, m be charged byHuldc.r, if
king umw ibm lm:n:s! not paid wb:a due shall. entitle option ofthc Holdr:r. draw hamm rha
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dcmand, then no terms or provisions convincd in this paragraph shall be deemed or interpreted to
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11. pw,g_gg_.kgm§. lfa default ar am Evem ofDex"zml! shall occur Holdcr shall have

`uz addition m iv remedies under thc Morlgage, Lhis Notc, loan Agrccmcnt, and/or any oihm‘

instrument seeming or executed in conjunction with the loan evidenced hereby and applicable law
5 ,all dzcrsmedics of a secured party undwrbc U)xlfi)rm Commcmiul Cnd:: ohhn Stn!c uf`Flmidz and,

without Lhn`rti.ng the gmcralitybi`thn foregoing Hold§`§liéll§iv€ did igli!`, of iv opticm`, aidvi'iibciil ' ` ' ” ` ' ` ’ "`…" " `“ "

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rebates required lay law (it facing the intention dowd that under no circumstances shall Hx)ldcr bc

entitled tn mccivc at any lime any charges nor alluch or permitted by low or any interest in excess

of abc maximum allowed by law); m set off against this Note all money owed by Haldcr in any '

Eu§a":;`itj f&"die"x?n?lz`r§?gic& n“r En?§uir`%iio“rlie?e?)£ ®h?rdie`rbfn'r`jf ddc;“a‘nd Holdcis§a?l b?deén$cd' `

m have exercised such right of setoff and to have mails a charge zgainst any mck money

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booker ofHoldm‘ subseqth thoman. Upon dispos§?im ofany collateral siler me occurrence of any

dcfnnh, mdmsigned shall bc and remain liable fur may chsi:zucy-. and Holdcr shall amount to

undersigned for any surplus, but Holdcr shall have the right to apply all or my pan of such surplus

(or !o hold the same as a msnrva) against any and all other liabilities of mdmignc:d m Holdzr.

12. M_M_. `l'blsl\¥mc is nxecuicdund:r scal and coustit!m:s a contract tmdcr‘rhc
laws of\b:: S!zm= of Flnrida, and shall bc enfoka in a Cm:rt of competent jurisdiction in that
Sta!n. regardless of 'm which State this Nn!n is being executed

13, HEAD!§§§§S- `l'hchcndings eithep'amgraphs contained in $hlsNoie are forecnvmizmce
of reference only and do not form a pan hereof amf la no way modify, interpret or construe the
meaning ofth parties heroin

14. DO§;MIABY STANB’S. Dm:mncnmry stamps in tim amountxequircd byHorida
law have been purchased and a$xi:d m the Mmtr;ngc of even dme which secures this Nntz.

35. LATE CHARGE. The wdmigncd promises lo pay 10 the Holdcr of this nom a "lntc:
cbargp"no! m exceed an amount equal fn live per cent (5%) of€my principal or in£:r<:stwhjch is nut
paid wilth inn (10) days imm the due date thereof£n ccrv<:rrlue extm expense involved in handling
delinquent paymentx Collcc:tiun or acceptance byHold:r of such lam chargc shall not constitute a
waiver ofany mmcdics ofHoldcr provided herrin

16~ CROSS DEFA QLI. A default under thisl‘~lme shall be and consti'mic a delimit marler
any and all mbcr notes or other evidence cf indebtedness mci any instruments of scanty &mfér
in which an Obligor is liable and of Which die B.'oldc:r is the Holclcr and a clai`anlt under any other
loan any Obligor lam at anytime 10 Holdcr or any other lender shall be a default hcreumler.

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(a} l'bc term "Mzkc:r“, as us¢d hm§n, 'm every instance sim}] includc the Ma}:cr‘s
hei:s, executch adminimtors, successor:, §egal r=pms:'maf:v:s and assigns, and shall :¥cnurc: the
smgufarand/or plural Lhc masculine and!c>r fcmininc, andmmmd and/or arzii’)r;ia? persons whenever
and wherever the comm so requires or zdmits.

{b} ms Note mzy not be chemng omf}y, but only by an zg:rmm! in Wn'ting, signed
by the party against whom eui`orcemcm ofsny waivm~, chmgr:, modi§ca!inn or disc`fxargc is sought

A.U payments made on the indcbtcdness c\id=nc:d by this Nuzn shall be applied first m
rcpaymcm c)f monies paid or advanccd by Ho!dcr on bcha]foftbc Makez' in accordance with tim
terms of the Mongage securing this Notc. and diemsz Shn§] be applied to payment of accrued
imarest, and Izmjy to payment of principal

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by Chapt<zr 655, Ffoz~ida Sizmie.s and any applicach fcdcm} }aws or nng

The principal balance homome be borrowed and m~bormwcd from times w time during the
term hereof but may not exceed ar any one time an amadan principa} balance of $1,000,000 GQ.
Bank`s obligation to make advances under this Notc shall minute if a demand for payment is made
under the No!c or if a default under this Note or any other miami loan document (the “'Lonn
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Case 6:16-cv-Ol447-CEI\/|-KRS Document 99 Filed 10/20/16

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Branch :FFD,User :FF39 Ol'der; 33 10416 Title OFHcer; MACKESY C<)mment: Station Id ;GBCC

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IL 'Iho Mmtgagor has roqumod m additional $350,0013.00 low (“thm~o Advnnoe")
from Mortgagm mm future advance under the Morfgngc; and

P. The parties have amca w modify tim Ncstx: w {i) modify!tu inmva md principal
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thereof fmha mann!of 5650,1000.00 but to nIso evidenm a fmum advance of$350,000.00; md

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Branch :F¥"D,User :FF}Q Order: 33!0416 Tit?e Ofi?ccr: MACKESY Commcnt: Stalion ld ;OBCC

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N¢JW THEREFORE, the parties do kathyde md nmend, for mci valuable md
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Branch :FFD,Uscr '.FF39 Order: 3310416 Titlc Omc€r: MACKESY Commént;

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STATE OF ALABAMA
M()NTGOMERY COUNTY
CERTIFICATE OF APPROVAL TO CONVERT
TO A STATE BANKING CORPGRATION
I, .Tohn D. Harrison, as Superiniendeni of Banks, State of Aiabama, do hereby certify that
Coioniai Bank, a national banking association: has fully oompiied with the provisions oi`§ 5~"/A~

20 through 5~7A-24, Code of Aiabama 1975, to convert to a State banking corporation With the

 

name Coionial Bank and that C.olonial Bank, the resulting bank, and ali of its S'L'ookholders,
officers and employees shall have the same powers and privileges and shall be Subjeei to the
same duties, liabilities and regulations, in all respects, as Siiail have been prescribed for ban-king
corporations originally organized as banking corporations under the laws of the State of
Alabama; and I do, therefore authorize Coloniai Bank, Montgomery, Aiabama, Subsequent to
the filing of this certificate amd attached documents With the lodge of Pi"obate of Montgomery
Couniy, to transact business as a state banking corporation effective at S:OO a.m. on Tuesday,
lime 10, 2008. 1 further oenii?`y that ali proper business can be entrusted io said bank including

the ability to exercise must powers.

Given under my hand and Seai of office this the 9"‘ day of June, 2008.

    

lohn D. 'Hai"i'ison
Sup!rin'tendem of Baiiks

 

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Case 6:16-cv-Ol447-CEI\/|-KRS Document 99

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‘~U Assignee.

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RLPY ()3936 P!LGE G534

STATE OF ALAFBAMA
51'ATE: alamoch D§:PANTM;-:NT

   

Bob R¥iey John D, Harrison

Govomox Supcr¢'mcndzm of Bnnk:z

ST/\TI£ ()F Al.,ABAMA
MONTGOMERY COUNTY

I, .k)§m D. Harrison. Superintendeer of Bzmks, under my hand and officiai S€al and
Insmzmce Cm'pn;aiion, as receiver 10 }iq;§idme and disuibute the ass=:zs of Co!onia} Bank, with its
principa¥ p}acc of business being in Momgomery, Momgomery Coumy, Alabama.

l further direct mm this Ccrtifxcate of Appoimmem is 10 be fich in the Off“\ce of the
Superimcndem of Bzmk:s and mm a certified copy of this Cem'{icme of Appoimmem is 10 be Q§cd
in the Ofi`zce of the ludge of Probazc of Momgomery Coumy, A!abzmxa.

IN WITNBSS WHERF,OF, l have hercuan Set my hand and the officia? sea§ of the State
Banking Deparimem on this the 14“" day of Augusl, 2009,

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\ x /\

. hn . Harrison

S ` cr mendent of Banks
State Of A§aha_rr)a

 

SBD-IO§

{`»ENTE".H ?'OR COMME`:HCE * 401 AUAMS AVENU§ " ¥’.O HOX 45()£) ' MONTGO!»\,:"~`F¥‘,, AL 351()3-¢$5!)(,‘
I£L&PHC)NF §334) 24'}-'3~"52 " FAX 433¢¥) 242-3500 OF! $*JN';AU OF LOANS (334) 353-5963

 

 

 

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RLPY 03936 meGE 0535

 

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Sx.!pcriniezxdvm oi'mekc
State of A!abama

State Bzmking Drxp;xrtmcn€
401 Adams Avc., Su§£c 686
}\'h)x:lgomery, AL 36104

Subject: Cuioniu! B:mk
Momgomer~y, Alabamu~ fn Receivership
Acwmance of A;moimmemt as Receiver
Dear Sir c)r I\/Iadam:

P}casc be advised thai the Federai De;)osi! Insurancc C<>rporation accepts its ap;)oimmcm as liec<:iv<:r c)i`
the capri<mad depository iz:“.§itmi<m, m accordance with the Pcdcra§ Dcposiz Insux'zmce Aci, as amended

Sincere?y,
FE§)ERAL BE!’OSIT ¥NSURANCI=I CORPO§{AT§ ON

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By ' y

Rz§bert C, S?¥§oppe
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Rl.?"’“z’ 039?)6 PAGE G§BG

§TAT§':: OF" ALABAMA
STATE BAN§»~:!NG DEPARTMEN'Y

   

T('_> WHOM I'T MA’Y' CONC}ZELN;

I hereby certify that the attached is a true and correct copy of the Supen`mendenz‘s
certificate appvim§ng the chcra! D:posit Insur:mce Cc)z'pom!ion as receiver to §iquidazc and
distribute the assess of Coi€mia? Bank, with its principal piece cf business being in Momgomery,

Momgorx\cry (,`Gunty, A?:zbama.

Givcn under my hand this the _l__}“ day of`August 2009.

    

S£a£e 0 ~' mama
Slaze Bzmking Depzmmem

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T’_-LH’HONE (33~!3 242~3457 ' FA)< 133~!,\ 242-3530 OFI BUNZAL¢ G§~ E.UANS (’&3¢'; 3$3*596? x

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LIMH`ED POVVER GF AT"£`ORNEY

K.N@W ALL ?ERSONS BY TH`ESE PR§§`SF.`:\?'I`S, fha? ike §*`§;`BH§L‘ 1 DI§POSY§"
N\FS`£.FRANCE C(`)RPGRATYC)N, a Coz~pc‘)rmion organized and exis’£ing under an Acz of` Congrc$:;.
hereafter called the “FDIC”. hereby designates the individual($} of BB&"§", :~‘,e>: mm whva (the
"."’\UGTH€}'(S)~in~Facl"`) for the Sol€ purpose of executing ihs documents outlined hei@w:

jeanne Maytin, SVP Mjanagcr ol"AI-/G/~\ loan .L\dministmtion
Laura McK,irmey, Regional Lc)zm Admin.istration D./szager §§
Greg;ory E. Beavcrsq Sez~vicing Mzmagez'
Pat Padi`xla, Regional Lozm Administratiou Mzmager ll
Lisa. Besz, Loan O;:erations Manager H!.
Rcbm‘i Hensfey, Consumez‘ lending M.¢mag@r ii
Angela Har*per, Seni<)r Vi<;€ Presicicm
T€:resa Griswoid, Senior '\»’ice Presidem
Heidi Gil!espie, Seni<)z' Vicc Presidem

WHEREAS, the undersigned has fuil authority 10 execute this instruman cm behalf Of` the
FDIC under applicab`ne R<:s<)futi<ms cf the FDIC`s Board <)fDire<:tors and redelegations thereof

I\'OW I`HEREFORE, fhc FDIC grants to the abc)ve~named .L`\z:£c)rncy(s§~in~§`zzc.t the an€h<)ri€y,
subject to the l§mitz:§ons herein as fol§c)ws:

§. Tc e;xecute, acknowledg@, eeai and deliver on behalf of the I~`DIC as Rsceiver of
C;Tc)lc)nia! Bank. aH instruments of transfer and conveyance, appmpriatcly compieted, with ali
Ox‘dinary or necessary endorsemems? aclmowlc~:dgmems, affidavits and suppc)rting, documents as
may be necessary or appropriate 10 evidence the Sale and transfer of any asset cf Cc)ionial Bank.
including all loans held by Cc)lonial Bank to BB&T, pursuant m mar certain Purchase and
A>sumption Agre.emem. dated as of August 14, ZOOQ, bmweezz FDIC as Rcceiver of Coicmiai B:.-mk
and BB&T.

The form which the Atmm€y{s')~in~f:act ShaH use fm endorsing promissory notes Or preparing
allon§;cs 10 promissory notes is as foHows:

Pay to the Gz‘der 05
Withc)ut Rccoursc
FE`DERAL DEPOSIT H\YSURA§\ECE CORPORATION

as Receix'er for Co§cmiai Ban}<, Mont§omcry, Alabamu

By;

 

Name:
Tirl€: Atmm@}=»in~§~`ac!

 

Limizeré Power oi`A'£“come_v for BB&T Pz‘.g;e 1 053
August` 2039

 

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i§?;.l.-.l?" \:` il 3 '§l ii ? iv fi. <.'3 ll Cl‘o’ il "f

;~\.li other documents of assignmcn:, conveyance or iransl'cr sh:;`il contain chis semcm:c: "'l`his
assignment is maclc withom rccoursc, rcprc.scmatiori or Warrahty,yci‘c;lli“§s§iiii’l§i?i}iili‘célil§j¢i§i¥i’?l)if
in its coiporatc capacif}‘ or as Rccci\'"cr.”

2. FDIC fun'hcr grams to each /\ttoriicy~in»l?aci full powc,r and authorii'\l to do and
perform all acts necessary to carry into effect thc powers granted by this l,imii.'c<l Powcr ol`£\riorric_\'
as fully as l~`DlC might or could cio with the same va.lidir_v as ii` all and every such aci had been
herein particularly State-di expressed and especially provided foia

`l`his limited Powcr of Atzorncy shall be effectch from Augus‘»; 14, 2009 and shall continue
iii hill force ana effect through Augosi i¢i, ZON), unless otherwise terminazccl `hy an official of the
l`~`Dl(` authorich to do so by the Boar<l of l)ircctors {“Rovocaiion"`). Ai such time this limited
Powcr of A'tiomcy Will he auiomai:ically revoked may third party may rely upon ith <locz.imcril as
the named inclividual{'s_)’ authority to conlinuc to exercise the powers herein granicd unless a
Rcvocariori has been recorded iri the public records of the jurisdiction where this limited Powcr of
Atiorncy has been rccorclcd, or unless a third party has received actual nolicc of a Rcvocation.

lN WITNESS WHEREOF, the FDlC, by its duly authorized ollich cz'r)po\a)crcd by
appropriate resolution of its .Boar<l of Dircciors. has caused these prcsems to be subscribed in its
name this §§ clay of .Augusi. 2009. ~

FEDERAL DK",_§}GS§:§` lNSURANCE COR}’ORA.T¥ON

, 1
By: iich mac y>J` llcafm»
Name: 551/nice S. Hcarm
Title: Managcr of fusioch Ses'vicc
Dallas Reu'ional Officc

 

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Naizze: Wai€cr <:,`. Sicdemopi`
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Signed, sealed and delivered
in the presence of:

;P;‘:::fs aaaa aaa
§§ uawth L, M;;g@;;

 

l-imitecl l"owcr of A€zomcy for BB&T Pag;c 2 of 3
August. 2009

 

 

 

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STATE UF 'I`EI*L»’~XS
CGHNT`Y OF B.»-’L`LLAS

On this;)_m>’{day 02`!-\11§¥.151` 2009, before me. a Notary Public in and for the State <),i"'l`exas
appeared .Tanic<z S': H<~:am. to me personal}y km)vm, who, being by me first duly ch)m did depose
fhat she is Manager mf`Customer Service, Dalias Reg,iona§ Of§ce of the Federa§ Deposit lnsur:mce
Corjpomtion (the “Corporati<m”). in Wh<)s@ name the foregng limited Power 01‘" Am)mcy was
executed and subscribed, amd ihs Said l.,imized Power of Altc)mey was executed and subscribed on
behalf<)§;`thc Said Corporation by due authority of the Cc)rpora¥ion’$ Board Of Directors, amd the Said
lanicc S. Hcam. acknowledged the Said L§mx`t€d Powet“ O§`Attom<:,\’ 50 b€ ihs free aci and deed 05
Saic§ Cmp<)rmi<m.

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LAKE¥SHA VU¥DAVM SMH`H

LIN§'§‘ED S"§A"§‘I;s mr AMER:<:A 66 g;c§{§§j;?§§;§;“€;j

BSS'I`RICT O.'I~` CC‘LUMBIA

On this ga day of Augusi:, 2009, before me, Notar;»‘ Public in and for the Distr}ci of
Columbia, personally appeared Walter C. Sicdentopf, to me known pcrs<ma}ljv, who being by me
iirsl duly Swom did depose that he is am Attomcy, c)fthe Fe:dez'a§ Deposii' lnsurzmce Corpc)rati<m, at
the Corp<)raticm in whose name ihe foregoing Power of Attomey has been subscribcd, who f`uriher
said that the said affixed to the Said P<)wer of Attome;\' is the corporate S€a§ of the Said Fec§€rai
D€:posit hzsurance Coz‘poration, and that the Said vaer of zfx.ti<)me§’ was Subscz‘ibcd on behalf of the
said C<>rpormion and its seai thereto affixed by due authority ofthe Corpora¥:z`on’:z Bozu'd cf
Direcwr& and the Saéd W&l“€er C. Sir:~zdemop§, acknowledged the Said Pow<~zr oi`Atmmc)}-' m be the
free act and deed <)f the said C@rp<>ration.

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T§:`. 0 -` ALAMONTGOMERY CO.

 

 

  

    

  

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BM Branch Banklng 85 Trust Co.

54Sl E. Silvar Spn'ngs Blvd.. Unll 1
Sl|ver Sprlngs, FL 34488

 

Aprzi 25, 2016

V.IA REGULAR MAIL AND CERTIFIED MAIL

Melvin L. Stevns, Jr. Melvin L. Stevens, Jr.
299 Torpoint Gate Road 129 Habersham Drive
Longwood, l"§, 32779 Longwood, FL 32779
Melvin L. Steveris, Jr, Melvin L. Stevens, Jr.
323 E. Notre Dame Drive 724 Silversmith Circle
Altamonte Spring,s, FL 32734 Lal<e Mary, .FL 32746

Molvin L. Stevens, Jr.
5684 Reddoclz Road
Marianna, FL 32460

Re: Renewal Revolving Line of Credit Promissory Note and Mortgages
Originally with Colonia! Bank, Now (}wned by Braneh Banking and

Trust Cnmpany Pursusmt to Assignment from the FDIC (Loan Number
(the “Loan”).

Dear Mr. Stevens:

AS you know, BB&T is the owner of the Loari as assignee from the FDIC. You are
in default of the Loan for failing to pay your monthly interest payments from June, 2909,
through the payment that was due on April 7, 2016. As of the date of this letter, the past due
interest amount is $3!7,046.32, and the amount necessary to cure the default (the “Cure
Amoum”) is $3 17,046.32. BB&T demands that you pay the Cure Amount to BB&T on or
before May 31, 20§6. Your failure to cure the default on or before May 31, 20§ 6,, may result
in acceleration of the Sums secured by the mortgages, foreclosure by judicial proceeding, and
sales of the mortgaged properties. You will have the light to reinstate the Lozm after
acceleration and the right to assert in the foreclosure proceeding the nonexistence of a
default or any other defenses to acceleration and foreclosure

Si core ,

Tara Bromirski

Exhibit
Hl!!

 

 

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(£lxe "‘Lozn”).

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in clement of abc leon.n pursuant zo paragraph I'F oi` inc N'§oz'ign<g,c:z by §z'zm> owing your

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323 Noire Dame l)rim:. All;nnome sz“§ngs. l~`l.: §);:ed m 3 P\/??\¢'Es\/§ §“loldz':z;;s m<;oz'd<;d
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2123/li

.»’\s n result of your def`az.zlL BB&'§` has accelerated pay/mena of the remaining
indel“>tedncss owing under the Loan. .»4\.:~; of" inc dane oi" lhi$ lemon you owe l.e~nd¢:r inc

il)llr_>w§ng ammonia fine "l’;wol`£`An)ozmi"}:

Exhibit
HJH

 

 

 

 

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i’z'§z::§!);x¢: S 999,‘}§5.7$
§m::z“;z,'z: 3 321,34§.23
§§eé:z§lfl:§t:ziz:"¥'u:l€:‘;: $ §‘},186.37
l"orva~:l Z*§;zce insur:zzzcz:: 5 23,411.4§
'l’om¥: $1,362,404§.76

lzm_:z'osl aza,:cz‘oos on mo z_m,nzzid principal 211 inc comz'n<:l mm <)1`3122.95 per clay

l~’l,xz‘sonni ao §')e§;zgmpll l? o?` me Ivloz';gogcs~“ l`_l.llé§';’§` demands peg/nmu from l\f?z:
?éic\ons o§`§n"c "':'ij»-'o:?"l'/\momn by .§u§}/ 12, ZG§{z.

,~\leif§onnll;; €§ze l,o;m is payable on demand l%l%&'l demands allen .`\~'lr. S§.evcn.~s and
.‘?ccuz'li}' §"§oonc§zzl §im'cr;:)z'ises. lno.. pay the Poyoil`./\;m»on£ by .}u!_y ZZ. ZM{).

BH&§' reserves the right to charge dollale §ntm‘c§:i as provided in inv l.ozm il` tile
i*zz§,'oi`l' folsoqu is 1201 received lay }uly l?.. .'ZOl(), ll` the Pzzyol`l` /\moum is nol rccc§ml.
<l<:§`;zult lzztc:‘csz will begin lo accrue on szly 13, 20§6,

3\‘{} K’Q’AZVER/RIZSERVA'Z`§GN UF R§{§§’i”§`f§

l`hi_~: writlozz nozice does not Con:~;l§l;utc 21 waiver o£`zmy oliver rights oz' mrm:¢;§io.~‘ which
lll"léz`;'i‘ may haw pul'snanz £o ilze terms o§` fha l-ozm oz‘ oil o:'\.viso. No l`a§lnye m exercise amy
z‘§gi‘)€$ or mno;li'es available lo BB&`l` and no delay in exercising any
such righ§s or z'c:zz\.edic~)s shall operate as 21 Waivc:x‘ of amy rights which B§.`B& §" may have
pursusz to inc towns of the mortgages or oll'lcz"wlso. li`»..u'ihe '. any tolerance by lhe
ur:d¢:z~,=n";;ncd on ivoimll"o{` BB&’!` zo any dcfzzo!ls mcmioncd heroin Shziil in no way r:onsz§u.mz_
or bo <:oz'zsls'uo<:§ lo bz:. a waiver of any other delimit winch may now c';><§s§i or hem:s'§§oz‘ misc
under §h': l<.)zn':,

`l`l'zc zzcc.o;>ioncc h “ lll'§&'l‘ o?`zmy payments nom yon. to 1310 exlcn$ that they do nol
;‘eproson§ llzo complete §‘zzyo§"? Amoum'_. shall nol coz'z.~sliu.=:c a waiver ivy B;'Zél; l` 1155`;1;),\v
deloulls thle cxisz under zl,e loan

£,cndcz‘ shall noi be bound by amy verbal z‘opz‘<:§cnrz-z:éc)ns related in any manner lo lle
l.oou o;’ ellis demand z\lo z.nnonclmenis, modifications` z'equcsl< for l`oz‘§)¢;:zzz'zznc¢:~ or any miller
amusement wl“lalsm:x~'c;‘ related 10 the omegach shall be valid or binding on .l~ez'xdez' unless ii
§§ mozm)r§;zliy.cd in 11 u'z'i£§n§; signed

Sineemly,

'ZM<:L Yzonx?z<z.é£

'l`ara Bz‘omirsl<i

 

